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                                         United States District Court, Eastern District of New York
      UNITED STATES OF AMERICA                                                           ORDER SETTING CONDITIONS OF RELEASE
                                                                                         AND APPEARANCE BOND
                      V.


                                                        , Defendant.
                                                                                         Case Number:
                                                                                                           >7"-                     ^
                                                                           RELEASE ORDER

            It is hereby ORDERED that the above-named defendant be released subject to the Standard Conditions of Release on the reverse and as follows:
            [] Alpon Personal Recognizance Bond on his/her promise to a^car at all scheduled proceedings as required, or
               Upon Bond executed by the defendant in
           [ y Upon                                in the amount ofS
                                                                 ofS               ^ t> 0^ OQ
                                                                                   nt>0,                                  ,and
                   secured by [v^financially responsible sureties listed below and/or'^ cc ollateral set forth below.
                                                                     Additional Conditions of Release

            The Court finding that release under the Standard Conditions of Release on the reverse will not by themselves reasonably assure the
      appearance of the defendant and/or the safety of other persons and the community, IT IS FURTHER ORDEI^D as follows:
      [vf I. The defendant must reniain in and may not leave the following areas without Court permission: [J]New York City;[ ]Long Island, NY;
               [ ]New York State;[VfNew Jersey;[ ]                                                     and travel to and from this Court and the permitted areas.
      l/'2- The detendanl
                d.efendanl rnu§t
                           muy ^ivoid  all contact
                                 avoid all contact with
                                                   with the
                                                        the f9llowing persons or
                                                            tollowmg persons  or entities:
                                                                                 ejitities:                      y ytt* T              A|L-C/'<CC
                                                                                                                                  y\U (A iL.


      [ 1 3.    The defendant
                    dffpndnni must avoid and not
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                                                                  following Inratini
                                                                            locatioi, <;• '
                                                                                          i
                The defendant must surrender all passports to Pretrial Services by^^                 not obtain other passports or international travel documents.
      }^t:      The defendant is placed under the supervision of the Pretrial Serviced Agency subject to the Special Conditions on the reverse and:
                    is subject to random visits by a Pretrial Services officer at defendant's residence and/or place of work;
                  must report y\ as directed by Pretrial Services or[ ]in person times per          and/or[ ]by telephone        times per          .
           [ 1 c. must undergo[ ]testing.[ ]evaluation and/or[ ]treatment for substance abuse, including alcoholism, as directed by Pretrial Services.
           [*i^.    must undergo evaluation and treatment for mental health problems, as directed by Pretrial Ser\'ices.                          -


           [vKe. is subject to the following location restriction program with location monitoring, as directed by Pretrial Services:
               [ ]home incarceration: restricted to home at all times, except for attorney visits, court appearances and necessary medical treatmen{;c3^^^C'^SS
               ^'■T^ome detention: restricted to home at all times, except for attorney visits, court appearances, medical treatment. [ ] religious services, .
\r»                 [ ] employment, [ ] school or training,              activities approved by Pretrial Scrs'ices, [ ]                                  ^
           [ ] curfew: restricted to home every day from                    to                 , or [ ] as directed by Pretrial Services.
           [ ] Defendant must pay all or part of the cost of any required testing, evaluation, treatment and/or location monitoring with personal funds,
                based upoji ability to pay as determined by the Court and the Pretrial Services Agency, and/ or from available insurance.

      v/i-      Other Condit                                     ft>                         (!cV\Ce}>
                                                                            ^
                                                                         APPEARANCE BO                       w ^                           •          ■ ■ - ■
      I, the undersigned defendant, and each surety who signs this bond, acknowledge that 1 have read this Appearance Bond and, and have cither read all
      the other conditions of release or have had those conditions explained. 1 further acknowledge that 1 and my personal representatives, jointly and
      severally, are bound to pay the United States of America the sum of $_ c;oo j Qov                         and that this obligation is secured with the below
      interest in the following property ("Collateral") which 1 represent is/are free and clear of liens except as otherwise indicated:
           [r j1 cash deposited in tlie Registry
                                        Recistrv ol
                                                 of the Court m
                                                              in the su
                                                                     sum of S                                             ;   .
      Qy       premises located                                                            owned by_
       /■ M'l slso agree to execute a confession of j udgment, fnohga^e or lien Ji form approved by the U.S. Attorney v^hich shall be duly filed with the
           imaperj^al^d state a^tli^mies og^before                                                                                 .
      Each ^™cr^me aboX C?mlaicral^grcesnm 1*0*^11 tj!^roperty. allo\^iirtl^r claims or^icumbrajic^o be made agaiiist it. or do nothing to
      reduce its value while this Appearance Bond is in effect./)      ^                            . .vi .              . i,.
                                                                                     \ /IM koflf'e -ftr u>viivv+W.Vic J cl^vi
      Forfeiture ofthe Bond This Appearance Bond may be forfeitetHf^ie defendant failss toto comply
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                                                                                                    with any
                                                                                                         any of
                                                                                                             of the
                                                                                                                the conditions
                                                                                                                    conditions set
                                                                                                                               set forth
                                                                                                                                    foTtli'aabove
                                                                                                                                             "5ove and on the
      reverse. The defendant and any surety who has signed this fonn also agree that the court may immediately order the amount of the bond sumcndered
      to the United States, including any security for the bond, if the defendant fails to comply with the above agreement. The court may also order a
      judgment of forfeiture r^ainsl the defendant and against each surety for the entire amount of the bond, including any interest and costs.              Date


                                  .                Address^                                                                         A                        jl
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             'SI                                                 '
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           I acknowledge that I am the defendant In this case and that I am aware of the conditions of release and of the penalties and sanctions set
      forth on the front and reverse sides of this form.
                                                                                                                                                  Signature of Defendant
      Release of the Defendant is hereby ordered on                                        20



                                                                                     Distribution:   Canary - Court   Pink - Pretrial Services    Goldenrod -Defendant
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